1                                                                                 Judge Marc L. Barreca
                                                                                               Chapter 7
2
                                                                       Hearing Location: Marysville, WA
3                                                                            Hearing Date: July 12, 2017
                                                                               Hearing Time: 10:00 a.m.
4                                                                           Response Date: July 5, 2017
5
                        IN THE UNITED STATES BANKRUPTCY COURT
6                 FOR THE WESTERN DISTRICT OF WASHINGTON, AT SEATTLE

7    In re:                                            )   Case No. 12-11140 MLB
                                                       )   Chapter 7
8
     KENT DOUGLAS POWELL and                           )
9    HEIDI POWELL,                                     )   TRUSTEE’S REPLY TO DEBTORS’
                                                       )   SUPPLEMENTAL RESPONSE
10               Debtors.                              )
                                                       )
11
                                                       )
12
          In an effort to prevent Trustee from selling the domain name https://www.heidipowell.com
13

14   and the related contract rights, Debtors have recently asserted that 11 U.S.C. §365(c)(1)(A) bars

15   the sale.
16
          First of all, Debtors don’t even quote the statutory text:
17
                 (c) The trustee may not assume or assign any executory contract or unexpired lease
18        of the debtor, whether or not such contract or lease prohibits or restricts assignment of
          rights or delegation of duties, if ---
19
                 (1)(A) applicable law excuses a party, other than the debtor, to such contract or lease
20
          from accepting performance from or rendering performance to an entity other than the
          debtor or the debtor in possession, whether or not such contract or lease prohibits or
21        restricts assignment of rights or delegation of duties; and
                 (B) such party does not consent to such assumption or assignment.
22

23        Secondly, since Debtors are trying to use Section 365(c)(1) as a defense, it is their burden
24
     to prove its applicability, but Debtors do no such thing, only mentioning the statutory provision
25
     “for the Court’s consideration,” and nothing more.
26

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1         Third, Trustee reads the section, even if applicable, as dealing with the consent of “a party,
2
     other than the debtor.” Thus, the Response Declaration of Heidi Powell, dated June 7, 2017,
3
     which, in large part, is a declaration of no consent by her, is irrelevant. Instead it is her burden,
4
     which she has not met, to show that GoDaddy.com, LLC, will not consent.
5

6         Fourth, Section 365(c)(1), is material only when “applicable law excuses a party, other

7    than the debtor, to such contract or lease from accepting performance from or rendering
8
     performance to an entity other than the debtor or the debtor in possession.” (emphasis added)
9
     Again, Debtors have not met their burden because they cite to no statute whatsoever.
10
          Moreover, Trustee has already noted in his Trustee’s Reply to Debtors’ Objection to Sale
11

12   of Domain Name and Related Contract Rights that there are statutes that allow an

13   assignment/transfer, e.g., “the Lanham Act specifically has provisions that allow a party to
14
     obtain a domain name involuntarily where the domain name infringes its trademark – called the
15
     Anticybersquatting Consumer Protection Act (ACPA), 15 U.S.C. 1114(2)(D), et seq.”
16
          For any and all of these reasons, 11 U.S.C. §365(c)(1)(A) is not a basis for denying the sale
17

18   of the domain name and the associated contract rights.

19        DATED: July 3, 2017
20
                                                  /s/ Dennis Lee Burman
21                                                ________________________________________
                                                  DENNIS LEE BURMAN, WSBA #7875
22                                                Trustee in bankruptcy
23

24

25

26

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